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             17                               UNITED STATES DISTRICT COURT
             18                              EASTERN DISTRICT OF CALIFORNIA
             19                                  SACRAMENTO DIVISION
             20

             21 RALPH COLEMAN, et al.,                         Case No. 2:90-CV-00520- KJM-DB

             22                Plaintiffs,                     DECLARATION OF STEVEN
                                                               CARTWRIGHT, Psy.D. IN SUPPORT OF
             23         v.                                     DEFENDANTS’ REPLY TO PLAINTIFFS’
                                                               BRIEF IN RESPONSE TO SEPTEMBER
             24 GAVIN NEWSOM, et al.                           3, 2020 ORDER
             25                Defendants.
                                                               Judge:     Hon. Kimberly J. Mueller
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17079613.2        DECL. CARTWRIGHT SUPP. DEFS.’ REPLY TO PLTFS.’ RESPONSE TO SEPT. 3 ORDER
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              1          I, Steven Cartwright, Psy.D., declare as follows:

              2          1.      I am currently employed as the Assistant Deputy Director of the California

              3 Department of Corrections and Rehabilitation’s Statewide Mental Health Services Delivery

              4 System (MHSDS). I have held this position since July 17, 2020. I have been employed by the

              5 California Department of Corrections and Rehabilitation (CDCR) since January 1, 2016. I have

              6 personal knowledge of the statements in this declaration and could testify to them if called to do

              7 so.

              8          2.      As Assistant Deputy Director, I manage and oversee all CDCR’s mental health

              9 continuous quality improvement efforts. CDCR’s Continuous Quality Improvement Tool (CQIT)

             10 was initially and primarily designed as a quality improvement tool, used to identify and correct

             11 problems with performance and improve the MHSDS and make it one of the best correctional

             12 mental health care systems in the world. CDCR strives to create and maintain a system grounded

             13 in best practices, far exceeding constitutional minima, and CQIT was developed with that goal in

             14 mind. CQIT measures CDCR’s compliance with its policies and other healthcare standards, which

             15 were designed to inspire best practices and administrative coordination, among other reasons, and

             16 not simply reflect what is minimally required in a constitutionally adequate system.

             17          3.      The CQIT review process contains a qualitative component that includes both

             18 patient interviews and a review of individual patient files, in concert with an extensive onsite tour

             19 over several days. During this time, not only is data collected, but the overall quality of group

             20 therapy, classification committee meetings, and interdisciplinary treatment team meetings, among

             21 other things, are observed and evaluated.

             22          4.      CDCR’s Continuous Quality Improvement On Site Audit Guidebook (the

             23 Guidebook) advises auditors to “pay special attention to qualitative items that may not be

             24 explicitly written in CQIT.” (Guidebook, p. 10.) The Guidebook urges auditors to utilize “all

             25 information available … to paint a complete picture on institution performance.” (Id.) CQIT

             26 audits include case reviews at each level of care within a facility. The Guidebook advises auditors

             27 to obtain a random targeted sample that may be done as a result of a specific issue or question.

             28 (Id. at p. 64.) For instance, the auditor may randomly select EOP patients only if the inquiry is

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              1 specific to an inquiry at the EOP level of care. (Id.; see also id. at p. 29 [auditors reviewing the

              2 Mental Health Crisis Bed program must randomly select ten patients who are on “limited issue”

              3 and review their health record to evaluate whether orders are inconsistent with policy and

              4 decisions are justified].) A true and correct copy of the Guidebook is attached as Exhibit A. I am

              5 informed and believe that the Guidebook was sent to Plaintiffs’ counsel and the Special Master

              6 team by Nicholas Weber, counsel for CDCR, on July 3, 2018,

              7          5.      As part of the CQIT review process, patients are also selected at random and

              8 interviewed by auditors to obtain feedback that is considered during the review process. Patients

              9 are asked, among other questions, what keeps them from going to their mental health

             10 appointments, do they feel they are being seen as often as they need to be, are they seen quickly

             11 when they need to be, do they know their mental health treatment plan, are they satisfied with their

             12 mental health treatment team meetings, and how can their treatment be improved, among many

             13 other questions. (Guidebook at pp. 19-23.)

             14          6.      Plaintiffs have been invited to attend the previous CQIT audits in person, most

             15 recently from August to October of 2018 at nine institutions. I am informed and believe that

             16 counsel for Plaintiffs attended several of these multi-day audit tours.

             17        I declare under penalty of perjury under the laws of the United States of America that the

             18 foregoing is true and correct. Executed in Elk Grove, California on November 30, 2020.

             19
                                                                   /s/ Steven Cartwright____________________
             20                                                    STEVEN CARTWRIGHT, Psy.D.
                                                                  (original signature retained by attorney)
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